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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                    Southern Division

UNITED STATES OF AMERICA                          *

v.                                                *       CRIMINAL CASE NO. PWG-11-157

                                                  *       (Civil Case No.: PWG-13-2193)1
CALEB K. OTSIBAH
                                                  *
*        *       *      *      *       *      *       *      *      *       *       *     *    *

                            MEMORANDUM OPINION AND ORDER

         Defendant was charged in a multiple-count indictment, ECF No. 51, and entered a guilty

plea as to four of the counts: conspiracy to commit bank fraud, in violation of 18 U.S.C. § 1349;

bank fraud, in violation of 18 U.S.C. § 1344; and aggravated identity theft, in violation of 18

U.S.C § 1028A. Rearr. Minutes, ECF No. 155; Plea Agr., ECF No. 156. The remaining counts

were dismissed. Sentencing Minutes, ECF No. 229; Gov’t Resp. 1, ECF No. 306. Defendant

was sentenced to sixty-six months’ incarceration, which included forty-two months on the bank

fraud charges, to run consecutive to a mandatory twenty-four months on the identity theft charge.

Def.’s Mot. 4; Gov’t Resp. 1. I must determine whether to vacate, set aside or correct the

sentence based on the allegedly ineffective assistance of counsel that Defendant insists he

received from Richard Finci, Esquire and John Iwanoge, Esquire.2 Because Mr. Finci never

entered his appearance on Defendant’s behalf or influenced the performance of the attorneys


1
    The ECF Numbers cited herein refer to the documents filed in Defendant’s criminal case.
2
  Defendant has submitted a Motion to Vacate, Set Aside or Correct Sentence, ECF No. 291,
which has been fully briefed, ECF Nos. 291-1, 306, 315, 321 & 322. A hearing is not necessary.
See Loc. R. 105.6. Defendant’s Motion is unsigned and therefore would be subject to being
stricken under Fed. R. Civ. P. 11(a) if Defendant failed to correct the omission promptly upon
notice from the Court. See Fed. R. Civ. P. 11(a). Instead, Defendant’s Motion is denied on
substantive grounds for the reasons stated in this Memorandum.
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who did enter their appearances, I conclude that his representation cannot be the basis for the

relief Defendant seeks. Additionally, because Mr. Iweanoge’s performance was reasonable and

the wrongs that Defendant perceives caused no prejudice, I conclude that his representation, also,

does not support Defendant’s claim of ineffective assistance of counsel. Therefore, I am denying

Defendant’s Motion to Vacate, Set Aside or Correct Sentence.

       I.      DISCUSSION

       28 U.S.C. § 2255(a) permits a prisoner to file a motion to vacate, set aside or correct his

sentence on the ground that it “was imposed in violation of the Constitution or laws of the United

States . . . .” The prisoner must prove his case by a preponderance of the evidence. Brown v.

United States, Civil No. DKC-10-2569 & Crim. No. DKC-08-529, 2013 WL 4562276, at *5 (D.

Md. Aug. 27, 2013). If the court finds for the prisoner, “the court shall vacate and set the

judgment aside and shall discharge the prisoner or resentence him or grant a new trial or correct

the sentence as may appear appropriate.” 28 U.S.C. § 2255(b). Although “a pro se movant is

entitled to have his arguments reviewed with appropriate deference,” the court may summarily

deny the motion without a hearing “if the § 2255 motion, along with the files and records of the

case, conclusively shows that [the prisoner] is not entitled to relief.” Brown, 2013 WL 4562276,

at *5 (citing Gordon v. Leeke, 574 F.2d 1147, 1151–53 (4th Cir.1978); 28 U.S.C. § 2255(b)).

       To prevail on a claim of ineffective assistance of counsel as the alleged Constitutional

violation,

       a petitioner must show that counsel’s performance was constitutionally deficient
       to the extent that it fell below an objective standard of reasonableness, and that he
       was prejudiced thereby. Strickland v. Washington, 466 U.S. 668, 687–91 (1984).
       In making this determination, there is a strong presumption that counsel’s conduct
       was within the wide range of reasonable professional assistance. Id. at 689; see
       also Fields v. Attorney Gen. of Md., 956 F.2d 1290, 1297–99 (4th Cir. 1992).
       Furthermore, the petitioner “bears the burden of proving Strickland prejudice.”

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       Fields, 956 F.2d at 1297. “If the petitioner fails to meet this burden, a reviewing
       court need not consider the performance prong.” Fields, 956 F.2d at 1297 (citing
       Strickland, 466 U.S. at 697). In considering the prejudice prong of the analysis,
       the Court may not grant relief solely because the petitioner can show that, but for
       counsel’s performance, the outcome would have been different. Sexton v. French,
       163 F.3d 874, 882 (4th Cir. 1998). Rather, the Court “can only grant relief under
       ... Strickland if the ‘result of the proceeding was fundamentally unfair or
       unreliable.’” Id. (quoting Lockhard v. Fretwell, 506 U.S. 364, 369 (1993)).

United States v. Lomax, Civil No. WMN-13-2375 & Crim. No. WMN-10-145, 2014 WL

1340065, at *2 (D. Md. Apr. 2, 2014). “When a petitioner alleges ineffective assistance of

counsel following the entry of a guilty plea, he ‘must show that there is a reasonable probability

that, but for counsel’s errors, [he] would not have pleaded guilty and would have insisted on

going to trial.’” United States v. Fabian, 798 F. Supp. 2d 647, 670–71 (D. Md. 2011) (quoting

Hill v. Lockhart, 474 U.S. 52, 59 (1985)).

       A. Representation of Mr. Finci – Advice to Reject Plea Agreement

       Defendant alleges that, while Federal Public Defender Joe Conte represented him, he

“was in consultation with Attorney Richard F[i]nci,” who, according to Defendant “advised

[him] to reject the plea agreement” that the Government first presented, under which Defendant

allegedly would have “receive[d] [an aggregate] sentence of 54 Months imprisonment.” Def.’s

Mot. 4. Defendant contends that he “retain[ed] Mr. F[i]nci, and took his advice and rejected the

plea agreement under the mistaken belief that the Aggravated Identity Theft charge would be

dropped or dismissed.” Id. Defendant asserts that “[a]fter a few months Mr. F[i]nci had to

withdraw as [his] counsel due to a potential conflict of interest.” Id.

       The Government counters that “[n]o such plea was ever offered to the defendant,” and

that “no plea agreement was ever offered to defendant during the time that he claimed he was

represented by Mr. Finci.” Gov’t Supp. Resp. 2. In response, Defendant provides Mr. Finci’s


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signed retainer agreement, which is dated March 14, 2011 and refers to Case No. 11-mj-00899,

which was the number for this case at the time of Defendant’s initial appearance on March 3,

2011 and his detention hearing on March 15, 2011, see Minutes, ECF No. 14; Det. Hr’g Minutes,

ECF No. 43.       ECF No. 322-1.        Defendant claims that Mr. Finci represented him for

“[a]pproximately 2 months,” Def.’s Mem. 2, or “a few months,” Def.’s Mot. 4. Yet, Mr. Conte

represented Defendant at his detention hearing, see Det. Hr’g Minutes, and at his arraignment

and detention hearing on March 24, 2011, ECF No. 57, and continued to file motions on

Defendant’s behalf into November 2011, see ECF Nos. 92 & 125. Moreover, Defendant has not

shown that the Government offered him a plea agreement under which he would receive a fifty-

four month sentence or that he received that agreement during the time he retained Mr. Finci.

See Brown, 2013 WL 4562276, at *5.

       Additionally, the Government argues that “Richard Finci was never defendant’s counsel

of record, nor did he appear in court on his behalf,” such that “any claim by defendant related to

Mr. Finci would not be cognizable under an ineffective assistance of counsel claim for the simple

reason that he was never his trial counsel.” Gov’t Supp. Resp. 2. Defendant concedes that “Mr.

Finci never formally became [his] counsel of record,” but maintains nonetheless that “Mr. Finci

was retained as counsel during the contested period of time.” Def.’s Reply to Supp. Resp. 1.

Because Mr. Finci never entered his appearance in this case and Defendant has not shown that

Mr. Finci influenced the performance of the attorneys who did appear on Defendant’s behalf,

Defendant cannot base his claim for ineffective assistance of counsel on Mr. Finci’s services.

See Stoia v. United States, 22 F.3d 766, 768 (7th Cir. 1994) (concluding that, although “[a]n

attorney’s constitutional ineffectiveness can manifest itself at trial even though the attorney never

appears in court,” the attorney’s performance must impact court proceedings for defendant to


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have a claim for ineffective assistance, because “a defendant's constitutional right to effective

assistance of counsel does not extend to those cases where a non-appearing attorney . . . is

retained by the defendant but his . . . deficient performance is not reflected in the conduct of the

defense at trial”); United States v. Martini, 31 F.3d 781, 782–83 (9th Cir. 1994) (“The Sixth

Amendment right to effective assistance of counsel guaranteed under Strickland v. Washington,

466 U.S. 668 (1984), does not include the right to receive good advice from every lawyer a

criminal defendant consults about his case. Instead, it comprises only the right to the effective

assistance of the counsel guaranteed by the Sixth Amendment—that is, the counsel who

represents the criminal defendant and helps to prepare his defense. See id. at 687 (describing the

inquiry as whether counsel was ‘functioning as the “counsel” guaranteed the defendant by the

Sixth Amendment’). If a criminal defendant in fact receives effective assistance of counsel from

the lawyer he has retained to meet the prosecution's case, he cannot later claim that he received

ineffective assistance of counsel from another lawyer he chose to consult.”). Consequently,

Defendant has not proven that he received ineffective assistance of counsel from Mr. Finci. See

Brown, 2013 WL 4562276, at *5; see also Strickland, 466 U.S. at 687–91.

       B. Representation of John Iweanoge – Failure to Challenge Aggravated Identity
          Theft Charge

       In Defendant’s view, the count for aggravated identity theft “was improperly added to

[his] indictment,” and “there are mitigating fac[to]rs which could have led to the charge being

dismissed.” Def.’s Mot. 5. Specifically, he contends that he did not have the necessary mens

rea. See id. He claims that Mr. Iweanoge’s assistance was ineffective because he did “not

pursu[e] th[e] potentially beneficial strategy” of asking the Court to dismiss that charge. Id.;

Def.’s Mem. 5. Yet, at his rearraignment, Defendant testified that he understood the elements of

aggravated identity theft, including that his use, transfer or possession of another’s identification

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was done “knowingly,” and that the Government would have to prove each element at trial. Tr.

10:19 – 11:9, ECF No. 294. He also testified that he agreed with the facts that the Court read

into the record, including that he

       provided the identifiers of an individual with the initials M.A. to a co-conspirator
       to create a false identity, knowing that M.A. was a real person. [The co-
       conspirator] used the M.A. identity to open a Direct TV account. And Otsibah
       ordered service from this account, knowing that the Direct TV service was held in
       the name of M.A. Defendant Otsibah and [the co-conspirator] also used the M.A.
       identity to cash checks written off of accounts controlled by other co-conspirators
       to gain fraudulently obtained funds.

Tr. 31:6–14. Further, he testified that he and Mr. Iweanoge had discussed whether to go to trial

and that he was “satisfied with the legal services that Mr. Iweanoge ha[d] provided [him],”

which he said “really helped” him. Tr. 24:11–24. Without any evidence to the contrary,

Defendant certainly has not overcome the “strong presumption that counsel’s conduct was within

the wide range of reasonable professional assistance” to show that Mr. Iweanoge’s failure to

move to dismiss the aggravated identity theft charge “was constitutionally deficient to the extent

that it fell below an objective standard of reasonableness, and that he was prejudiced thereby.”

Lomax, 2014 WL 1340065, at *2; see Strickland, 466 U.S. at 687–91. Nor has he demonstrated

“‘a reasonable probability that, but for counsel’s errors, [he] would not have pleaded guilty and

would have insisted on going to trial.’” Fabian, 798 F. Supp. 2d at 670–71 (quoting Hill, 474

U.S. at 59). Consequently, Defendant has not proven that he received ineffective assistance of

counsel from Mr. Iweanoge on this ground. See Strickland, 466 U.S. at 687–91; Brown, 2013

WL 4562276, at *5.

       C. Representation of John Iweanoge – Failure to File Appeal

       Defendant’s final contention is that Mr. Iweanoge provided ineffective assistance of

counsel because he did not file an appeal when Defendant “did not agree with the sentence as it

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was rendered, and . . . voiced [his] displeasure to counsel.” Def.’s Mot. 7. He argues that

“grounds could have been raised on appeal which could have prevailed, had Mr. Iweanoge had

any intent in following through on this matter.” Def.’s Mem. 5. But, the plea agreement that

Defendant signed provided:

                                       Waiver of Appeal
               15.     In exchange for the concessions made by this Office and the
       Defendant in this plea agreement, this Office and the Defendant waive their rights
       to appeal as follows:
               ...
               b.      The Defendant and this Office knowingly waive all right, pursuant
       to 18 U.S.C. § 3742 or otherwise, to appeal whatever sentence is imposed
       (including the right to appeal any issues that relate to the establishment of the
       advisory guidelines range, the determination of the Defendant’s criminal history,
       the weighing of the sentencing factors, and the decision whether to impose and
       the calculation of any term of imprisonment . . . and term or condition of
       supervised release), except as follows: (1) the Defendant reserves the right to
       appeal any term of imprisonment to the extent that it exceeds the aggregate of a
       sentence within the advisory guidelines range resulting from an adjusted base
       offense level of 23 as to Counts One, Eight and Eleven and a two-year
       consecutive sentence as to Count Fourteen . . . .

Plea Agr. ¶ 15. Moreover, at the rearraignment, the following colloquy ensued:

       THE COURT:            And then as a waiver of appeal, essentially we are looking
                             this 46 to 57 months as to counts 1, 8, and 11, and an
                             additional 24 months consecutive sentence. And if I
                             sentence you within those ranges -- so let’s look at it -- 46
                             to 57, and this will add 24 to 57, let’s see, that is a possible
                             81 months. Do you see that?
       THE DEFENDANT: Yes, Your Honor.
       THE COURT:            Now, if I give you a sentence that does not exceed 81
                             months, then you will not have any right to appeal. And if I
                             give a sentence is 46 and 24 – let’s see, that is 70. So if I
                             don’t give anything less than 70, the Government cannot
                             appeal.
       THE DEFENDANT: Yes, Your Honor.
       THE COURT:            So if I give anything between a total of 70 and 81 months,
                             then neither you nor the Government would have any rights
                             to appeal.
       THE DEFENDANT: Yes, Your Honor.

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       THE COURT:             All right. As long as it is a legal sentence, then you are
                              giving up your rights to appeal. Is that clear to you, sir?
       THE DEFENDANT: Yes, Your Honor.

Tr. 20:24 – 21:20. Thus, as the Government noted, see Gov’t Resp. 10, Defendant did not have

the right to appeal a sentence of eighty-one months or fewer, and the Court informed Defendant

of the same, see Tr. 20:24 – 21:20.         Therefore, Defendant has not proven that it was

unreasonable for Mr. Iweanoge not to file an appeal or that he was prejudiced by Mr. Iweanoge’s

performance.      See Strickland, 466 U.S. at 687–91; Lomax, 2014 WL 1340065, at *2.

Consequently, Defendant has not proven that he received ineffective assistance of counsel from

Mr. Iweanoge on this ground either. See Strickland, 466 U.S. at 687–91; Brown, 2013 WL

4562276, at *5.

       II.     CERTIFICATE OF APPEALABILITY

       Rule 11(a) of the Rules Governing Proceedings under 28 U.S.C. §§ 2254 or 2255

provides that the court must “issue or deny a certificate of appealability when it enters a final

order adverse to the petitioner.” Brown, 2013 WL 4562276, at *10. This certificate “is a

‘jurisdictional prerequisite’ to an appeal from the court’s order” that “may issue ‘only if the

applicant has made a substantial showing of the denial of a constitutional right.’” Id. (quoting 28

U.S.C. § 2253(c)(2) and citing United States v. Hadden, 475 F.3d 652, 659 (4th Cir. 2007)). A

prisoner makes this showing “[w]here the court denies a petitioner’s motion on its merits . . . by

demonstrating that reasonable jurists would find the court's assessment of the constitutional

claims debatable or wrong.” Id. (citing Miller–El v. Cockrell, 537 U.S. 322, 336–38 (2003);

Slack v. McDaniel, 529 U.S. 473, 484 (2000)). Because Mr. Otsibah has not shown that a

reasonable jury “would find the court’s assessment of the constitutional claim[] debatable or

wrong,” and therefore has not made a substantial showing that his Constitutional rights were

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denied, this Court will not issue a certificate of appealability. See id.; 28 U.S.C. § 2253(c)(2).

Miller-El, 537 U.S. at 336–38; Slack, 529 U.S. at 484. However, this ruling does not preclude

Mr. Otsibah from seeking a certificate of appealability from the Fourth Circuit. See 4th Cir. Loc.

R. 22(b)(1).

       III.    CONCLUSION

       Defendant’s Motion to Vacate, Set Aside or Correct Sentence is DENIED. This

Memorandum Opinion and Order disposes of ECF No. 291 in Criminal No. PWG-11-157.

       The Clerk is directed to file a copy of this Memorandum Opinion and Order in Criminal

No. PWG-11-157 and Civil Action No. PWG-13-2193, to MAIL a copy of it to Defendant, and

to CLOSE Civil Action No. PWG-13-2193.



Dated: April 16, 2014                                              /S/
                                                            Paul W. Grimm
                                                            United States District Judge

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